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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

IN RE:                            )         In Proceedings
                                  )         Under Chapter 13
Lajuana D. Johnson                )
                                  )         Case No.23-05129
                                  )
Debtor(s).                        )         Honorable Judge Donald R Cassling
                                  )
               OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN
      NOW COMES Ally Bank, by and through its undersigned attorney, on its Objection to
Confirmation of Chapter 13 Plan, and in support thereof states as follows:

  1. Ally Bank has a security interest in one 2017 Lexus NX Utility 4D NX200t AWD 2.0L I4 Turbo,

     VIN JT JBARBZ7H2112636, which was properly perfected by recording its lien on title. (Please
     see Exhibit A & B.)

  2. Ally Bank, alleges the proposed interest rate of 6.500% is unacceptable and is requesting a minimum
     interest rate of 11.000%.
       WHEREFORE, Ally Bank respectfully requests this Court of entry of an Order denying

confirmation and for such other and further relief as the Court deems just.
                                                                 Respectfully submitted,

                                                                /s/ James M. Philbrick
James M. Philbrick
Law Offices of James M. Philbrick, P.C.
P.O. Box 351
Mundelein, IL 60060
Phone: (847) 949-5290
jamesphilbrick@comcast.net
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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
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IN RE:                                          )          In Proceedings
                                                )          Under Chapter 13
Lajuana D. Johnson                              )
                                                )          Case No.23-05129
                                                )
Debtor(s).                                      )          Honorable Judge Donald R Cassling

              NOTICE OF OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN
                            AND CERTIFICATE OF SERVICE

*AN OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN HAS BEEN FILED.

       Please be advised that the attached objection to confirmation of chapter 13 plan shall be presented
on June 15, 2023, at 10:00 AM before the Honorable Donald R Cassling at Appear In Courtroom 619,
219 S. Dearborn St, Chicago, IL 60604 or Using Zoom- Judge Cassling pursuant to the notice generated
by the court on May 19, 2023, to the following parties:

Via CM / ECF / NEF

Thomas H. Hooper
55 E. Monroe St., Suite 3850
Chicago,IL 60603
thomas.h.hooper@chicagoch13.com
Patrick S Layng
219 S Dearborn St, Room 873
Chicago, IL 60604
USTPRegion11.ES.ECF@usdoj.gov

David Freydin
8707 Skokie Blvd, Suite 312
Skokie, IL 60077
david.freydin@freydinlaw.com
       The objection was further served by depositing a printed copy into the US Mail on May 19, 2023,
with postage prepaid at the address listed on the creditor matrix, upon the following parties, others not
served:

Via US Mail
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Lajuana D. Johnson
5949 N Ravenswood Ave, Apt 2J
Chicago, IL 60660


                                                     /s/ Cathy Bush
                                                     /s/ Cathy Bush
                                                     4515 N. Santa Fe Ave.,
                                                     Oklahoma City, OK 73118
